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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 Cheryl Sagataw, DeAnthony Barnes, Roberta                        Case No. 24-cv-0001 (ECT/TNL)
 Strong, Travis Neloms, Alvin Butcher,
 Adrian Tiger, Chance Askenette, Deven
 Caston, Lola Hegstrom, and RonDel                             PLAINTIFFS’ FIRST SET OF
 Applebee, on behalf of themselves and all                   INTERROGATORIES, REQUESTS
 others similarly situated,                                     FOR PRODUCTION, AND
                                     Plaintiffs,               REQUESTS FOR ADMISSION

        vs.

 Mayor Jacob Frey, in his individual
 and official capacity,
                                    Defendant.

TO: DEFENDANT MAYOR JACOB FREY IN HIS INDIVIDUAL AND OFFICIAL
CAPACITY, ℅ MINNEAPOLIS CITY ATTORNEY’S OFFICE
       Pursuant to Rules 33, 34, and 36 of the Federal Rules of Civil Procedure, Plaintiffs

Cheryl Sagataw, DeAnthony Barnes, Roberta Strong, Travis Neloms, Alvin Butcher, Adrian

Tiger, Chance Askenette, Deven Caston, Lola Hegstrom, and RonDel Applebee, on behalf of

themselves and the putative class of those similarly situated, (“Plaintiffs”) hereby submit the

following Interrogatories, Requests for Production, and Requests for Admission to Defendant.

Plaintiff requests that Defendant serve its answers, in writing and under oath, to the undersigned

counsel for Plaintiffs at P.O. Box 7040; Minneapolis MN 55407 or by electronic mail, within 30

days of service of these Interrogatories and Requests. The requests for production of documents

are exclusive of any materials already provided by the City.



  I.   Definitions:

       For the purpose of this discovery request only unless otherwise specified, Plaintiffs use

the following definitions:



                                                   1



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   1. “Communication” means any written, oral, telephonic, or electronic conveyance of

meaning between or among one or more persons or entities.

   2. “Document” means any written, recorded, or graphic material of any kind, whether

prepared by you or by any other person, that is in your possession, custody, or control, including:

agreements, contracts, letters, telegrams, inter-office communications, memoranda, reports,

records, instructions, specifications, notes, notebooks, scrapbooks, diaries, plans, drawings,

sketches, blueprints, diagrams, photographs, photocopies, charts, graphs, descriptions, drafts

(whether or not they resulted in a final document), minutes of meetings and other conversations,

invoices, purchase orders, bills of lading, recordings, published or unpublished speeches or

articles, publications, transcripts, voicemails, electronic-mail, text messages, ledgers, financial

statements, microfilm, microfiche, tape or disc recordings, and computer print-outs. This also

includes all drafts of a document and all copies that differ in any respect from the original,

including any notation, underlining, marking, or information not on the original. The term also

includes information stored in, or accessible through, computer or other information retrieval

systems (including any computer archives or back-up systems), together with instructions and all

other materials necessary to use or interpret such data compilations.

   3. “Encampment” means a grouping of tents, tent-like structure(s), or temporary structures

that are located within Minneapolis, which appear to be occupied by individual(s) for the

purposes of residing therein.

   4. “Eviction” means the closure and clearing of an encampment site at the direction of the

City of Minneapolis.

   5. “Nenookaasi” refers to the encampment of unhoused individuals that was located at the

following approximate location on the following dates:




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           a.   From August 23, 2023 until January 4, 2024: at or near 2313 13th Ave S.
           b.   From January 4 to January 30, 2024: at or near 2601 14th Ave S.
           c.   From January 30 to February 1, 2024: at or near 2213 16th Ave S.
           d.   From February 1 to February 29, 2024: at or near 1105 E 28th St.
           e.   From February 29 to July 25, 2024: at or near 2839 14th Ave S.

   6. “Relating to” means analyzing, alluding to, containing, constituting, considering,

comprising, commenting on, concerning, discussing, describing, mentioning, pertaining to,

referring to, reflecting, regarding, studying, or reporting on, in whole or in part.

   7. “You” and “Your” is in reference to yourself, as an individual, as well as to the City of

Minneapolis.

   8. The singular form of a noun or pronoun shall be considered to include within its meaning

the plural form of the noun or pronoun, and vice versa; and the past tense shall include the

present tense where the clear meaning is not distorted. The term “or” shall mean “and” and

vice-versa, as necessary to bring within the scope of the following interrogatories all information

or documents that would be excluded absent this definition.



 II.   Instructions:

   1. Unless otherwise specified, these requests are limited to the time period beginning

August 1, 2023 to the present, with ongoing supplements and corrections made pursuant to Rule

26(e) of the Federal Rules of Civil Procedure as additional information becomes known.

   2. Where knowledge, information, or documents are requested, such request encompasses

knowledge, information or documents in your possession, custody or control, or in the

possession, custody or control of your staff, agents, employees, representatives and, unless

privileged, attorneys, or any other person who has possession, custody or control of your

proprietary knowledge, information or documents.



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   3. Pursuant to Fed. R. Civ. P. 26(e), you are under a duty seasonably to amend any answer to

these interrogatories for which you learn that the answer is in some material respect incomplete

or incorrect, and if the additional or corrective information has not otherwise been made known

to us during the discovery process or in writing.

   4. For any request or interrogatory which you refuse to answer in full or in part under a

claim of privilege, submit a sworn or certified statement in which you identify the nature of the

information withheld; specify the grounds of the claimed privilege and the paragraph of these

interrogatories to which the information is responsive; and identify each person to whom the

information, or any part thereof, has been disclosed.

   5. Answer each interrogatory or request fully. If you object to any interrogatory or request,

state the reasons for objection and respond to the extent the interrogatory or request is not

objectionable. If you are unable to answer an interrogatory or request fully, submit as much

information as is available, explain why your answer is incomplete, and identify all other sources

of more complete or accurate information.

   6. For any record or document responsive or relating to these interrogatories or requests

which has been destroyed or lost, or is otherwise unavailable, identify each such document by

author, addressee, date, number of pages, and subject matter. Explain in detail the reason for the

unavailability of any such document.



III.   INTERROGATORIES:

   1. Identify the names, positions, and addresses of any individual or entity who has the

authority to make decisions during encampment evictions about who may or may not enter the

perimeter and for what reason, and how much time residents are given to gather their belongings.




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   2. State the names, addresses, and positions of people or entities who both (1) communicate

with you regarding matters of homelessness and/or encampment evictions (exclusive of

individuals who may provide you with their opinion on such matters, but to whom you do not

grant an audience) and also who (2) contribute financially to your campaign or to the City of

Minneapolis.

           a. Provide the amount and dates of those contributions and the content, manner, and

               dates of those communications.

   3. State your position, with specificity, on where encampment residents and their belongings

should go after being evicted.

   4. State your understanding of the comparative dangers of unsheltered houselessness when a

person is living in an encampment as opposed to when a person is not in an encampment.

   5. State your general understanding of the history of Minnesota and the process by which its

original Indigenous inhabitants were driven off their homelands.

   6. State the sources of data (reports, individual persons, consultants, experts, organizations,

statistics, and any other research product) that you have reviewed and/or relied on when

designing or approving policy regarding unhoused Minneapolitans and/or houseless

encampments.

   7. Itemize the City’s expenditures from the time period of August 2023 to the present on

encampment response, including supportive services (e.g., porta-potties, security) and evictions

(e.g., law enforcement, fencing, rubble deposits).

   8. Describe the basis for the decision to award Helix Health and Housing Services a no-bid

contract for the provision of services to unhoused Minneapolitans, including any current or prior

connections to that organization or its executives or directors.




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   9. State your understanding, and the source of this understanding, of the number of initial

unhoused residents of Nenookaasi who were able to access services and transition from

Nenookaasi into treatment and/or housing programs during the period of its formation until its

first eviction on January 4, 2024.

   10. Describe the “encampment closure process” and what happens to individuals and their

belongings during an eviction, including whether and how individuals are provided an

opportunity to gather their belongings, whether and under what circumstances individuals are

prohibited from gathering their belongings, and what happens to any belongings that remain on

site during an eviction.

   11. Describe the details of any storage opportunities provided to Nenookaasi residents,

including the specific dates and times that storage was made available, the nature of that storage,

and how and by whom the availability of storage was communicated to residents.

   12. Describe the details of how notice of evictions was provided to residents, including who

provided notice, to whom it was provided, whether and where any notices were posted and the

exact verbiage of any signage.

   13. Describe, for each eviction of Nenookaasi, the specific reason the decision was made to

evict residents and what source or sources of information led to that decision.

   14. Describe the date, time, and location of any visits you personally have made during your

tenure as Mayor to a houseless encampment.

           a. If you made any such visits, describe the number, nature, and parties to any

               conversations you had while visiting any such encampment.

   15. Describe the date, time, purpose, and location of any visits you have personally made

during your tenure as mayor to an organization or entity that provides services to unhoused




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Minneapolitans, such as Avivo, Agate, Helix, or the storage facilities offered by the Downtown

Improvement District.

   16. Identify all persons who participated in the preparation of responses to each of these

interrogatories, requests for production, and requests for admission.



IV.    REQUESTS FOR ADMISSIONS:

Plaintiffs request that Defendant Frey make the following admissions for the purpose of this

action only and subject to all pertinent objections to admissibility which may be interposed at the

trial. Please Admit or Deny that the Following Statements are true:

   1. Providing basic resources (sanitation stations, trash pickup, social and medical services)

to encampments more effectively reduces homelessness than repeated evictions and sweeps.

   2. Evictions cause trauma to the encampment residents who experience them.

   3. Repeated encampment evictions make it more difficult for evicted residents to maintain

contact with their social and case workers, counselors, lawyers, housing workers, and other

social service providers and vice versa.

   4. Unhoused women are disproportionately vulnerable to sex trafficking compared to their

housed counterparts.

   5. Unhoused people are disproportionately the victims of violent crime and theft.

   6. All land currently owned by the City of Minneapolis first belonged to the original

Indigenous (Dakota) inhabitants of this region.

   7. The land that is now the City of Minneapolis, including land owned by the City itself,

was stolen from its original Dakota occupants through the ongoing process of colonization.

   8. The majority of the residents of Nenookaasi are Indigenous and/or people of color.




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   9. Many of the residents of Nenookaasi are physically and/or mentally disabled, such as

through physical mobility limitations, substance use disorders, anxiety, depression, and

Post-Traumatic Stress Disorder (PTSD).

   10. Law enforcement are not required to answer direct clarifying questions during evictions

about what is or is not allowed, and where services may be obtained.

   11. Law enforcement are not required to allow individuals to make multiple trips in and out

of the encampment to retrieve their belongings during evictions.

   12. Law enforcement are not required to allow supporters and service providers to move

freely during evictions to assist with encampment residents’ moving.

   13. Evictions are planned and intended to occur at days and times where fewer

non-encampment residents will be on site.

   14. Helix Health and Housing Services was awarded a no-bid contract that was framed as

providing support for former residents of Nenookaasi.

   15. After January 4, 2024, Nenookaasi residents were not given notice of specific dates for

eviction.

   16. Storage was not made available to Nenookaasi residents on January 4, 2024.

   17. Storage was not made available to Nenookaasi residents on January 30, 2024.

   18. Storage was not made available to Nenookaasi residents on February 1, 2024.

   19. Minneapolis police department officers have ignored requests for law enforcement

response and/or emergency services made by Nenookaasi residents.

   20. On January 4, 2024, there were an insufficient number of available shelter beds to house

the evicted residents of Nenookaasi.




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   21. On January 30, 2024, there were an insufficient number of available shelter beds to house

the evicted residents of Nenookaasi.

   22. On February 1, 2024, there were an insufficient number of available shelter beds to house

the evicted residents of Nenookaasi.

   23. On July 25, 2024, there were an insufficient number of available shelter beds to house the

evicted residents of Nenookaasi.



 V.    REQUESTS FOR PRODUCTION:

   1. Communications received, reviewed, sent, created, drafted, or discussed by the City

regarding houseless encampments, including support for, responses to, and evictions of

encampments as well as activities meant to deter future encampments from forming, such as the

depositing of rubble on city-owned lots.

   2. Documents relating to the manner in which notice was given of each eviction of

Nenookaasi (as defined in Section I(5), above), including copies or photos of signs and

communications regarding the location, date, and contents of signage.

   3. Documents relating to storage that was offered or provided to Nenookaasi residents.

   4. Documents relating to property destruction and removal following the evictions of

Nenookaasi residents, including those containing any inventories or descriptions of items

destroyed and any related invoices or fees for services.

   5. Documents relating to complaints, 911 calls, and requests for service related to

Nenookaasi and any other documents relating to the Defendant’s claim that the City had received

approximately 100 requests for emergency services in the first four months of the Camp’s

existence, including requests originating from Nenookaasi residents themselves.




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   6. Documents relating to the City’s efforts to investigate or substantiate complaints against

Nenookaasi and its residents.

   7. Property records for each location from which Camp Nenookaasi was evicted.

   8. Documents relating to the provision and servicing of portapotties at Nenookaasi.

   9. Documents relating to the availability and accessibility of shelter beds on the dates of the

Nenookaasi evictions.

   10. The contract between Minneapolis and Helix Health & Housing Services described by

the City Council approval as: “The Minneapolis City Council hereby authorizes a contract with

Helix Health & Housing Services using Opioid Settlement Funds, in the amount of $999,650 to

provide temporary housing, substance use disorder treatment, and mental health services for

individuals experiencing homelessness.”




Dated: December 2, 2024                             s/Kira Kelley
                                                    Kira Kelley (#402932)
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                                                    Minneapolis, MN 55407
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                                                    Email: kira@climatedefenseproject.org

                                                    ATTORNEY FOR PLAINTIFFS




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